Case 2:19-0v- Sia tie RARE EL COVER MEER 20° 1 of 2

FOR CASES REMOVED FROM ANOTHER JURISDICTION

This form must be attached to the Civil Cover Sheet at the time
the case is filed in the United States District Clerk's Office

Additional sheets may be used as necessary.

1. Style of the Case:
Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please list the
attorney(s) of record for each party named and include their bar number, firm name, correct mailing
address, and phone number (including area code).

Party Party Type Attorney(s)
Dennis Ashcraft and Barbara Ashcraft, husband and Plaintiff Alexandra S. Rubin, Esq. #029777
wife, RUBIN LAW PLC

3550 North Central Avenue, Suite 1010
Phoenix, AZ 85012-2111

(602) 795-4888

Attorney for the Plaintiff

Pinal County Defendant James M. Jellison, Esq. #012763
Pinal County Sheriff's Office JELLISON LAW OFFICES, PLLC
Sheriff Mark Lamb 36889 N. Tom Darlington Dr

Suite B7; Box 2800
Carefree, AZ 85377

(602) 550-6405

Attorney for the Defendant

John and Jane Doe I-L Defendant
ABC Corporations CI-CL
XYZ Partnerships CLI-CC

2. Jury Demand:
Was a Jury Demand made in another jurisdiction? Yes (e) No O

If "Yes," by which party and on what date?

Oennis Ashcraft and Barbara Ashcraft
01/07/2019

3. Answer:
Was an Answer made in another jurisdiction? Yes OQ No (e)
If "Yes," by which party and on what date?

Supp CV Gover Sheet (rev 8/20/2015)
4. Served Parties: 2:19-Cv-02614-JZB Document 1-2 Filed 04/24/19 Page 2 of 2

The following parties have been served at the time this case was removed:

Party Date Served Method of Service
Pinal County 4g Personal service
Pinal County Sheriffs Office 4/1/19 Personal service
Sheriff Mark Lamb 4/1/19 Personal service
5. Unserved Parties:

The following parties have not been served at the time this case was removed:

Party

Reason Not Served

not aware of any

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate changes from the style of the papers from another jurisdiction and the reason for the

change:

Party

Reason for Change

NA

7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this litigation:

Party

Claims

Plaintiffs Dennis Ashcraft and Barbara Ashcraft

alleges assualt, battery,false impronsment, excessive force and
deprivation of Constitutional Rights, and negligent failure to supervise

Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in

another jurisdiction (State Court) shall be filed with this removal.

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